Case 1:20-cr-00101-TWP-DML Document 17 Filed 11/09/20 Page 1 of 1 PageID #: 66




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                             Plaintiff,             )
                                                    )
                        v.                          )     No. 1:20-cr-00101-TWP-DML
                                                    )
ORLANDO R. MUKES,                                   ) -01
                                                    )
                             Defendant.             )

                ORDER ADOPTING REPORT AND RECOMMENDATION

       On November 6, 2020, the Magistrate Judge submitted her Report and Recommendation

regarding the United States Probation Office's Petition for Warrant or Summons for Offender

Under Supervision (Dkt. 5). The parties waived the fourteen-day period to object to the Report and

Recommendation. The Court, having considered the Magistrate Judge's Report and

Recommendation, hereby adopts the Magistrate Judge's Report and Recommendation.

       IT IS SO ORDERED.

       Date:    11/9/2020




Distribution:

Dominic David Martin
INDIANA FEDERAL COMMUNITY DEFENDERS
dominic_d_martin@fd.org

Paper copy to U.S. Attorney's Office
